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EXHIBIT 1

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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

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THE APPLE iPOD iTUNES ANTI- — No. C-050037-JW(RS)
TRUST LITIGATION,

DEPOSITION OF ROGER G. NOLL, Ph.D.

Taken before EARLY K. LANGLEY, RPR, RMR
CSR No. 3537

September 19, 2008

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EXAMINATION BY MR.

DEFENDANTS '

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MITTELSTAEDT

EXHIBITS

(No Exhibits Marked.)

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DEPOSITION OF ROGER G. NOLL, Ph.D.

BE IT REMEMBERED, that pursuant to Notice, and on
the 19th day of September 2008, commencing at the hour
of 10:10 a.m., in the offices of Jones Day, 555
California 26th Floor, San Francisco, California,
before me, EARLY K. LANGLEY, a Certified Shorthand
Reporter, personally appeared ROGER G. NOLL, Ph.D.,
produced as a witness in said action, and being by me
first duly sworn, was thereupon examined as a witness

jn said cause.

---000---

BONNY E. SWEENEY, PAULA ROACH, Coughlin Stoia
Geller Rudman & Robbins LLP, 655 West Broadway, Suite
1900, San Diego, California 92101, appeared on behalf

of the Purchasers Plaintiffs.

HELEN I. ZELDES, Zeldes & Haeggquist, LLP, 655
West Broadway, Suite 1410, San Diego, California 92101,
appeared on behalf of the Indirect Purchaser

Plaintiffs.

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ROBERT A. MITTELSTAEDT, MICHAEL SCOTT, Jones
Day, 555 California Street, 26th Floor, San Francisco,
California, 94104, appeared on behalf of the Defendant

Apple, Inc.

ALSO PRESENT: Carlyn Clause.
Nick Silva, Videographer, Aiken & Welch Court
Reporters and Video, One Kaiser Plaza, Fifth Floor,

Oakland, California 94612.

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differential ease of access to the iTunes Music
Store for these competing MP3 players; correct?

A. Well, that's one feature. But another
feature would have been suppose that Apple had
licensed FairPlay to SanDisk which is a really
high quality product. All right. If you read
ratings of portable digital media players, SanDisk
is very high.

The additional benefit would have been the
people who buy SanDisk would have a qualitatively
superior experience to the already good experience
they have with SanDisk.

Q. The way you're going to determine or try
to determine whether there is any impact of what
you call a tie on the price of iPods as opposed to
the impact from substantial market power that you
think Apple might have in the but-for world
anyway, is to run some regression analyses; is
that correct?

A. Well, maybe, maybe not. I can't tell you
what analysis I'm going to do to get at
anticompetitive impact as opposed to damages until
I know what data are available.

It would be completely foolish to say here

are the regressions I'm going to run independent

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of what data are available.

So, I mean, in principle, yes, one does
that, although I would say half the time that's
not how anticompetitive impact is proved by an
economist, because the data aren't of the form
that would support a reliable econometric
analysis.

Q. One possible method of regression approach

would be a before and after; right?

A. That's -- well, that's, again, damages as
opposed to impact. I thought we were talking
about impact.

Q. Okay. To do damages --

A. Yes.

Q. -- the same thing is true, that you would

use a regression analysis to measure the impact on
price from the alleged tie as opposed to impact on
price from the substantial market power that Apple
might have in the but-for world?

A. Certainly that is a very likely
possibility. I mean, there, again, it depends on
what happens when you find the data.

There -- it isn't always necessary to use
a regression analysis to do a before-after study.

If you have either a homogeneous product or very

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little variation, there's only two or three
product models, sometimes a simple little table
will do it.

So, but in principle, it is normally the
case that damages are estimated using a regression

model. And I suspect that will happen here, but I

don't know that until I see the data.

Q. Okay. Have you concluded that you can use
a before-after method of determining whether
there's damages and, if so, the amount without a
regression analysis in this case?

A. No.

Q. Okay.

A. I mean, what I described in the before or
after analysis is a method of estimating the
damages that is -- can have an implementation of
many forms. All right.

And it is -- it is normally the case that
the implementation method is a price regression
that attempts to take into account variation in
price due to all of the factors that are likely to
affect supply and demand and then see if there's
anything left over that can be explained by the
anticompetitive act.

Q.. All right. Have you done enough work in

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this case to determine if the before-after method
can actually be implemented in this case?

A. I believe that it can, and -- but I'm
basing that primarily on my experience with, you
know, based on previous cases that this market
seems less complicated to me than others that have
been successfully done, and there are objective
criteria out there that one can look at to
estimate the demand for iPods and the price of
iPods through time based on product
characteristics and product reviews and things
like that.

So it's my belief that this will work. Of
course, you can't -- you don't know whether the
number is going to come out there is a
statistically significant positive damage until
you run the regression.

So, but I -- the method is certainly valid
and it is one that an economist who is given the
task of estimating damages should pursue.

Q. Okay. But do you know whether, in fact,
it can be implemented here in this case?

A. I'm sure it can be implemented in the
sense of running the regression. I'm not sure

that the answer is going to be a positive

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advantage. I don't know.

Q. Okay. Are you sure that the yardstick
method can be implemented in this case?

A. As I have said in my report, that is the
one I'm least happy about, all right, in that it
requires identifying the appropriate comparative
products. And my -- I believe that's -- that's
the hangup, is identifying the appropriate
benchmark products.

But, you know, as I've said in the report,
there are some candidates out there. If the
plaintiffs had completed the market correctly,
then the most obvious candidates are the products
that are the closest functionally to portable
digital media players, but that are not in the
same market.

Q. Okay.

A. And I also gave an explanation of why it's
possible, although you normally don't do it, you
might even be able to use products in the same
market because of the effect that tying has in
segmenting the market, so that even though in the
absence of anticompetitive acts, all the products
would be in the same market, the anticompetitive

act may have reduced competition among portable

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digital media players sufficiently such that you
can actually use the -- some of the competitors in
the portable digital media player market as a
yardstick. So that's possible, but, again, it
requires data that I'm not sure exists.

So, I would say that's a candidate,
someone should pursue it, if they were going to
estimate damages, but I have more doubts that that
one will work than the other two.

Q@. Have you done enough work to determine if
the markup method can, in fact, be implemented in
this case?

A. Well, actually, I'm not the one who did
the work. I cited a paper that I found that was
fairly recently written that -- that essentially
does this.

Now, it doesn't have internal data,
unfortunately. It has -- what they did is they
tried to build up the cost.

Q. Okay. Can you just answer the question?
And the question is: Have you done enough work --
have you seen enough work to determine if the
markup method can, in fact, be implemented?

A. Yes.

MS. SWEENEY: Object. He was answering

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your question. You interrupted him and I would
just ask that you allow him to complete his
answer.

MR. MITTELSTAEDT: He understood. He was
going beyond the question.

THE WITNESS: No, I wasn't. I was --

MR. MITTELSTAEDT: Sir --

THE WITNESS: You changed the nature of
the question on me. I was answering did you do
the work. I said I didn't do the work, but I saw
it done by others and here's how they did it.

MR. MITTELSTAEDT: Okay.

THE WITNESS: Now, you changed the

question. When you changed the question I can

answer it "yes" or "no." But the question as you

originally asked it I couldn't answer "yes" or

Hu w

no” --

MR. MITTELSTAEDT: Okay.

THE WITNESS: -- and be honest.
BY MR. MITTELSTAEDT:

Q. Sir, you were starting to tell me
everything that was in your report on that subject
and in the interests of time --

MS. SWEENEY: Objection.

Mischaracterization.

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BY MR. MITTELSTAEDT:

Q. -- we don't need -- we don't need to do
that.

But here's the question now: Have you
done enough work or have you seen enough work to
be able to tell us whether, in fact, the markup
method can be implemented in this case?

A. I know the markup method can be done in
this case, yes.

Q@. Have you actually done it?

A. Of course I haven't done it yet, because
the way I would do it is conditioned upon data
that I don't have yet.

Q. All right. And are you going to run the
regression analyses yourself in this case?

A. I have no idea. I don't know what I am
going to be doing beyond class certification.

Q. Have you talked with anybody about
regression analyses for this case?

A. No, I've had conversations with the
attorneys about what my report means, but I
haven't discussed regression analysis with anybody
who, in the sense of how one would actually go
about doing it, no. This is all from me.

Q. Do you consider yourself an expert

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Q@. And what happened in --

A. And there's also the introduction of
video. I should add that as well, which I don't
remember the exact date. I think it was
early 2000 -- mid-2006, but I don't have the exact
date in mind for that.

Q@. What happened in October 2003?

A. The iTunes Music Store became accessible
to people who had Windows-based PCs instead of
people who just had Mac-based PCs.

Q. In any event, you would be comparing
prices of the iPod before and after April 2003 and
at various times from April 2003 to present;

right?

A. Well, yeah. The essence of the problem is

to explain variants in price through time with as
many things as possible and then see if these
other things affected it.

Q@. And you would use a regression analysis
that would measure all of the factors that affect
price?

A. Well, that -- the way you approach it --
that's sort of the wrong way to put it. That's
starting with the answer and then going to the

question.

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You start off with the things you think
are plausible candidates to explain price. Almost
certainly some of them won't.

So, you know, it's certainly the case that
everything that is a plausible candidate to
explain variation in price based on economic
theoretic reasoning would be included.

Q. But you want to end up with a regression
equation that measures all of the factors that, in
fact, affect the price; right?

A. That is correct.

Q. And if you leave out a factor, your

regression will erroneously attribute the impact

of that factor to the anticompetitive conduct at
issue --

A. No. No

Q. -- right?

A. That's only true if the factor you've let
out -- left out is positively correlated to the
event. Specification error doesn't necessarily
reduce the consistency of a particular
coefficient. Whether it does depends --

THE REPORTER: I'm sorry. Repeat it
again.

THE WITNESS: It doesn't -- read back what

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you've got.
(Record Read.)
MR. MITTELSTAEDT: Let's just start again.
THE WITNESS: Yeah.

BY MR. MITTELSTAEDT:

Q. Okay. The question is if you leave out a
factor, your regression analysis will erroneously
attribute the impact of that factor to the
anticompetitive conduct at issue.

A. Right. And that is only true if the
excluded variable is positively correlated with
the event in question or the variable whose
coefficient you're attempting to estimate. If
it's negatively correlated, then, in fact, you'd
end up with an underestimate of the impact of the
event.

Q. Okay. Have you made any analysis of what
the relevant factors are that should be included
in this regression analysis on the before-after
model ?

A. The standard approach to do this is the
hedonic equation, based upon --

Q. Hedonic, could you spell that?

A. H-e-d-o-n-i-c.

Based on the qualitative attributes of the

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product, and the prices of other products, and
other factors that would increase demand, such as
the penetration of personal computers in
households and things like that.

Q. Okay. But, have you taken it beyond that
and actually tried to identify the factors that
needed to be included in this case for
before-after regression?

A. I don't -- I don't know why my previous
answer wasn't an answer to that question. So
explain to me what I didn't say that you want to
hear.

Q. You weren't specific enough.

What factors do you think affect the price
of iPods?

A. I believe -- the price of iPods is, again,
straightforward application of..partial equilibrium
market theory in economics which is their cost
factors. And there are factors that affect price
through cost, and there are factors that affect
price through demand. And, so, there's a standard
litany of what the factors are that affect cost
and what the -- the factors that affect cost are
component costs and the various other input costs.

And the factors that affect demand are things like

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income, the penetration of complementary products
like personal computers and then there's market
level phenomenon such as the price of
alternatives.

Q@. All right. Anything else that you would
list as factors that you would need to include, or
at least test in your regression analysis?

A. No. That's it. I mean, it's -- it's the
standard approach to supply and demand analysis
where you look at the way costs and the way demand

affects price.

Q. Okay. Do you also look at the reason that

people buy iPods?

A. Well, the reason that people buy iPods is
background information to what the demand curve
looks like. So you don't go out and measure
people's moods and things like that. You measure
the qualitative attributes of the product and the
conditions in the market as a way to capture what
their demand is. What their reasons are in some

sort of psychological sense is irrelevant.

Q. Okay. What are the qualitative factors or

the attributes that you would look at?

A. The, first of all, the functional features

of a product, what --

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Q. Let's talk about the iPod in particular.

A. Well, you have to -- it has to have more
than iPods. But, yes, you would look at what are
the characteristics, what are the functional
characteristics this can perform.

You would also like to get at some measure
of quality, and this can be done through things
such as product ratings in trade magazines, CNet;
things like that. It can be consumer survey
studies about their personal experiences and what
they...

It is very common and I suspect Apple may
have already done this for companies to survey
their customers about what they like and what they
don't like about a product. And that kind of
information sometimes, although not always, is
useful in explaining demand.

Q. Would you also look at advertising costs
expenditures?

A. In principle, one might. Yes. In
principle.

Q. Why?

A. Because advertising might have a positive
effect on demand, If there were change in it. I

mean, the reason I was a bit hesitant is that in

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the time frame that we're talking about which is a
few, couple of years, there usually isn't much
change, and if things -- if a variable isn't
changing, then it's not going to explain changes
in price.

But, yes, in principle, it's possible that
if there were a big change, a significant change,
a substantial change in advertising expenditures
during the period, it could have the effect on
demand. That's a very hard thing to model, by the
way, because the right way to think about
advertising is not a flow but a stock. You're
sort of like a capital investment.

Q. Not a flow but a?

A. A stock. You're creating a capital
investment in consumer awareness. So advertising
expenditures in one year can have an effect on
demand for several years. So it's in a very short
time period of a few years. It's usually pretty
hard to find a significant effect of advertising.

Q@. Have you heard the term "coolness factor"?

A. Only, yes, of course. I've heard -- I've
heard of it, yes.

Q. Okay.

A. And then my -- one of my grandchildren

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just used it when I had dinner with them on
Wednesday night.

Q. In reference to?

A. Oh, nothing to do with any of this. It
had -- what were they referring to?

Q. Do you think the coolness factor affects
demand for iPod?

A. I don't know even how to answer the
question. I think in the sense that I need to
back up. I'd have to know what you meant by it.

I mean, people have attachments to products, and a
large part of what marketing is about is trying to
build those attachments. Those -- those affect
demand. But I'm having a hard time knowing how we
would go out and measure units of cool --

Q. Well, that was going to be my next
question --

A. -- for a regression analysis.

Q. But the first question is: Do you think
that type of attachment to a product is something
that affects demand?

A. Well, it affects demand but it affects
it -- you can -- that's what determines elasticity
of demand. All right. So you're out there

estimating elasticity of demand and what's going

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into that elasticity of demand is -- includes
product attachment. So, specific elasticity of
demand is, in fact, affected by affective aspects
of a product that had nothing to do with its
functionality.

Q. Like what? In the case of an iPod, what
would be an example?

A. I don't know that there are any examples.
I don't know that you are going to use that as an
explanation for why they're so popular, and I look
forward with great expectation to your economic
expert measuring coolness in his econometric
models, because I don't have any way that I know
of to measure it directly. Ali I would do is
infer it indirectly from the results.

Q. What does that mean?

A. What it means is -- let's rewind the tape.

What was -- how does coolness as an

attribute of an Apple product vary over time?
What are the things that cause to it vary?
Because if the issue is, as is certainly the case,
that some small single-digit fraction of people in
this country are attached to Apple and they would
pay huge amounts for anything Apple-like, you

know, they're the people who were still buying

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Macs at the pit of their -- when they were -- had
the lowest market share they ever had, which I
think bottomed out at 3 or 4 percent, something
like that. They were nonetheless people who hung
in there. They loved everything about a Mac.
They swore by it. So there is some number of
people out there who have it.

Now, the issue is how is that changing
over time. And what -- what factors affect it.
And if they're not measurable by product
attributes, such as one thing that people like
about, you know, Steve Jobs has a thing about
size. All right. He starts off with a design
criterion for both iPods and iPhones that has the
dimensionality of it as an immutable constant.
And, so, small, you know, okay, well, we can get
at maybe that affects coolness, the fact that it's
so thin. All right. And, so, we can measure
thinness and put that as an explainer in the
demand equation.

What else is it? Maybe every time people
see Jobs at his winter Apple conference come out
on the stage and do his little routine, boy, they
think that's cool.

And, so, if that's true, then, there ought

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to be an immediate effect of a Steve Jobs talk on
sales of Apple products for the next couple of
months.

So, all I can think of as an economist is
objective ways to try to capture that in a demand
equation that have to do with things I can
actually touch, feel, see, measure.

I don't know of any way to -- to my
knowledge, there is no scientifically valid method
of measuring units of cool.

Q@. What are the reasons you think people buy
iPods?

A. I think probably because they think it's a
good product, and it satisfies their needs, their
-- what they want.

Its price is lower than their willingness
to pay given the alternatives and given the
functional uses that they want to put it to.

Q@. And what are their -- what are the various
ways people use iPods?

A. Well, they use iPods to listen to audio
and video files. I don't know what else --

Q. What's the source of --

A. I should also say if the -- if the iPod is

embedded in an iPhone, then it's all the other

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THE WITNESS: Okay.

MR. MITTELSTAEDT: Let's take a short
break now.

MS. SWEENEY: Okay.

THE VIDEOGRAPHER: This ends tape No. 1 of
the deposition Roger Noll. The date is September
19th, 2008, and the time is 12:01.

We are now off the record.

(Break taken.)

THE VIDEOGRAPHER: Test 1, 1, 2.

Stand by. On the record. This begins
tape No. 2 of the deposition of Roger Noll. The
date is September 19th, 2008, and the time is
12:16. We're back on the record.

BY MR. MITTELSTAEDT:

Q. For the before-after model, can you be any
more specific as to what variables you're going to
include in the regression analysis than to say as
you do in the report, "product features, input
cost and the stage of the product in its life
cycle"?

A. Do you want specific examples of product
features and input costs?

Q. I want whatever you are going to put in

your regression analysis as a variable.

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A. I don't know what I am going to put in my
final regression analysis as a variable because I
haven't collected the data to see what's
significant and what isn't.

I can -- the -- the -- I think what you
really want to know is what things might be tried
as opposed to what's going to be in the final
model because I have no idea what would be in the
final model.

Q. What variables are you going to put in
your various versions of your regression analysis
for the before-after model?

A. Again, the -- I start off with the answer
I've given several times.

They would be specific functions the
product can perform, would be the first category,
such as what specifically can you do with it,
because that's changed over time. All right.

An iPod today. isn't the same thing an iPod
was in 19 -- or 2001. And as time has progressed,
it's had greater and greater functionality, and,
you know, like the introduction of Internet
access, the adding of video, increases in memory
size.

So, it's -- it's -- it's the -- it's

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essentially the technical specs of an iPod that a
consumer considers when making a decision. All
right. And, so, that would be the list of things.
All right.

The technical characteristics. And you
can go to Apple's website and it will tell you the
technical characteristics from the point of view
of functional use that each model of iPod has.

All right.

As I said earlier, it strikes me that
something that would be put in there would be
dimensionality. All right. That is to Say, the
size of the iPod because, again, each one has a
slightly different size and shape.

And, so, you'd want to -- I know that
Apple thinks that's important. I don't know that
it as a practical matter is important, but
certainly that is one thing that might explain
price.

On the cost side, the -- it's not clear to
me that one needs to decompose the cost into
components, but, in principle, one might. It
depends on whether simply knowing what the average
variable cost of iPods would be. If you put that

in, that may be sufficient. But it may not be.

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It may be that you have to break it into
components, such as how much did they spend on
memory and how much did they spend on
microprocessor, et cetera.

So, again, for completeness, you probably
try to do some of that, but as a practical matter,
it's usually the case that once you've got the
manufacturing -- average variable cost in
manufacturing, you've got enough. So, I don't
know what the final result is going to look like,
but that's how you would approach it.

Then I also said there would be
characterizations of the market; right?

The features available on other products,
their prices. The -- one of the issues in the
history of iPods has been the fact that you
couldn't get radio on them and you could get radio
on some of the alternatives.

So that would be to see if that mattered
in terms of the demand for iPods, the fact that
others had radio and they didn't.

So, and then what's going on in the
economy. Since this is not exactly in the same
category as meat and potatoes in people's budgets.

So you can imagine rise and falls in sales in

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prices arising from what the overall state of the
economy is.

You know, the penetration of computers
because an essential input, an essential
complementary product is computers.

Q. Are you done?

A. I think so. But I'm, you know, I'm
sitting here trying to think of things in response
to your question.

Q. Under your first category, the technical
functionality, are you talking about whether it
can play music, whether it can play video; that
type of thing?

A. Well, in part, yes. But also in part
where it can get it from. All right. Because the
direct access to the Internet, for example, is a
relatively new feature a couple of years ago. All
right.

So, whether -- you know, that is a feature
that may or may not have affected both demand and
price for iPods.

And then, of course, the other thing to
bear in mind, of course, is at any given time
there's, you know, three or four or five different

types of iPods that Apple is selling that differ

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all the way from the very simplest audio only,
whatever the current lowest-end iPod is that's
really only good for music and that doesn't have
Internet access to the iPhone which is the highest
end which is basically a pumped-up computer.

Q@. Do you think the introduction of Apple's
Music Store could have had a positive effect on-
the iPod price even if it had been designed in
such a way that there was no differential ease of
access?

A. I think the -- as you put the question,

that's not the way I would think about it, so I

can't answer it "yes

Q. How would you think about it?

A. I think the availability of digital
downloads for permanent storage is a factor
affecting the demand for portable digital audio
players, and it's not a dichotomous variable like
iTMS came into existence. Instead, it's a
continuous variable which is how much product is
available and who is it available from, because
there was extensive permanent download of music
files prior to the introduction of iTMS. It's

just the feature that had made iTMS different was

the fact that it had a much larger library of

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recordings from the major distribution companies
than any of its predecessors.

Q. Okay.

A. That was its main -- the main thing that
happened in 2003 is that -- this doesn't have much
to do with Apple. It's that between losing the
permanent injunction against Napster in February
of 2002 and the introduction of Apple, and then
subsequently having to spin-off MusicNet and
PressPlay because they were being attacked on
antitrust grounds.

Hollywood changed its mind about the role
of digital downloads in the music industry.
Sometime between the spring of 2002 and the fall
of 2002, it changed its mind and was -- and it
happened in a different sequence like BMG had
already decided that it was going to do this and
that's why it bought a piece of Napster and was in
the process of converting Napster to a legal site
when the cases took place in 2001 and 2002.

So BMG was the first, and then there were

‘others that were much Tater, and what had to

happen for this whole source of music to evolve as
an alternative to buying CDs, was that the

distribution companies had to change their mind

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their burden. And I don't have an opinion as to
whether they can prove it.

I know how they would prove it, but I
don't know what the answer is.

Q. Okay. How would they prove it?

A. They'd prove it by precisely what we've
been talking about all day, which is you see if
there was an affect on the demand for iPods in
particular that can be explained only by the
exclusivity arrangement.

Q. Okay. And that depends -- the success of
that approach depends on you being able to
identify everything that affected the price of an
iPod over time; correct?

A. That's -- that's wrong. I mean, it
depends on not excluding factors that explain
price and quantity of iPods that plausibly are
correlated with the exclusivity. That's the
crucial --

Q. So you need to identify all the factors
that are plausibly correlated with price and
quantity of iPods sold?

A. All that -- beyond plausibly that actually
would have a statistically significant

correlation.

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Q@. That's what you need to do?

A. With -- yes. With -- no. They have to
have a significant -- statistically significant
correlation with the period of the exclusivity and
the fact of the exclusivity. It's not that to
have a correlation with price. It's that they --
in order for the specification error of leaving
those variables out to produce an inconsistent or
biased estimate of the effect of the exclusivity,
it has to be the case that the exclusivity period
is correlated with this alternative source.

For example, it may be the case --

Q@. Slow down just -- just a second for the
court reporter.

A. Sure. It may be that the phases of the
moon affected the demand for iPods, but the phases
of the moon are not correlated with the presence
or absence of the exclusivity of FairPlay. All
right. And, so, if you exclude them you may do a
worse job of explaining the demand for iPods, but
you would not produce a biased inconsistent
estimate of the coefficient on exctusivity.

Q. Is the stage of the iPod in its life cycle
a variable that you need to consider?

A. That's what I put in my report. And,

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yeah, there's learning by doing in manufacturing
these things that affect cost.

Q@. And how do you measure that variable?

A. There's two ways to measure it. One is
the cumulative quantity sold of that particular 12:39
model and the other is the period since its
introduction, the amount of time since its
introduction.

Q. Is demand for iPod likely affected by the

availability of downloads on Amazon.com? 12:39
A. "Likely" is the wrong word. I would use
"nlausibly." It is the case that the availability

of downloads from other sources, not just Amazon,
is a factor that affects the demand for iPods.

Q. Before we go to lunch, let's finish up on = 12:39
the game theory method.

Would you walk us through and explain the

steps.

A. The basic -- the basic idea, the really
simple idea and let's start off with what the 12:40
simple idea is.

Q. Good.

A. The simple idea is that you have a
characterization of the market structure in the

world as it exists. And another characterization 12:40

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‘entry, and a new iPod version was introduced that
had some functional improvement.

Part of your task will be to try and
determine the impact on the demand for the iPod
from each of those three things; right?

A. What was the third?

Q. The new iPod.

A. Well, the new iPod, I understand, and the
launch of iTMS, I understand. What's the third?

Q@. Two aspects of iTMS. One is just the
existence of a new supply for music for an iPod
and the other is the differential ease of entry
aspect that we talked about this morning.

A. Right.

Q. So of those three aspects of what happened
in this hypothetical in April of 2003, one of your
tasks will be to separate the impact on the demand
for the iPod of those three factors.

A. That's correct.

Q@. And how are you going to do that?

A. Well, the -- let's go back a step as to
why this is a problem. All right.

So, the econometric problem here is to
separate out the fact, assuming that everything is

as stated in the hypothetical. So three things

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happened simultaneously. How does one separate
the effects, and the only plausible way that I
know to do that is to look at subsequent events
that may have affected some but not all of the
demand, and try to estimate what they did to
demand and use that as a mechanism for
representing -- for estimating the effects of just
the availability in general of digital downloads.

With regard to the new model of the iPod,
I -- that doesn't strike me as the hard problem
because that's -- that's fairly easy to do based
on functionality. The harder problem is to
separate out exclusivity from simply the existence
of digital downloads.

So, but, having said that, there were
other forms of digital downloads that existed.
It's not a -- it didn't go from all -- from
nothing to all. But as I said earlier, it went
from relatively little being available to
relatively lot. And, so, there would be -- one of
the explanatory variables you would attempt to use
would be some measure of the scope of availability
of permanent downloads over the Internet, which it
wasn't that it was zero before iTunes Music Store;

it was just that it dramatically increased with

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iTunes Music Store.

Q. Does the before-after method work when the
price of the reference product, here iPods, is
declining over time?

A. Yes, because there -- obviously the
relevant factor is its profitability, its markup.
And all electronic products have declining prices
over time. Every Information Technology Case I've
ever known about, the issue has been would it have
fallen faster.

Q. The claim for damages in this case, as you
understand it, is an alleged overcharge for iPods;
is that right?

A. Yes.

Q@. Who made that decision that that was going
to be the claim for damages?

A. I don't know. How would I know that?

Q. Well, I mean, one possibility would be
that you made it. So let me -- let's rule that
out.

A. Which of my law degrees did I use to
decide that?

Q. How did it come to pass that you have
focused on performing or strike that.

How did you decide to address your report

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case, then the total monopoly profits go up, if
you can engage in tying.

Q. Okay. Have you made any analysis of the
impact of the alleged tying arrangement on the
price of music? The price of iTunes music?

A. I have done no analysis of the effects of
the alleged tying. I don't have a merits
conclusion. So I -- I haven't done it for the
tied product or the tying product, though. This
is not the liability phase. This is the class
certification phase.

Q. Is it --

A. I don't have a conclusion about what the
effects on the price of anything were.

Q. Okay. Is it plausible that if the
plaintiffs were right that there was a tying
arrangement, it would have caused the price of
iTunes store music to drop?

A. Maybe, maybe not.

Q. Compared to the but-for world?

A. There's -- you can't -- you cannot --
there's no theoretic answer to that question.
It's an empirical question. Maybe, maybe not. It
depends.

Q@. It depends on the results of a regression

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analysis taken into account the factors that
affect demand for iTunes music?

A. Well, I would have said that's an example
of one way to answer the problem, yes. But it --
that's not -- the "it depends" part is it depends
on the conditions in the market, the circumstances
in the market.

Q. Okay.

A. Both technical circumstances of production
and demand circumstances.

Q. Okay. Can you describe what circumstances
in the market would lead to a lowering of the
price of the -- of iTunes music as a result of the
alleged tie?

A. The closer the two products are to having
a fixed quantitative relationship in terms of the
quantity purchased of each.

Q. Can you give me an example on the other
side other than the converse of that?

A. Well, in the case of -- the reason -- it's
sort of facetious because obviously this isn't
that case. I mean, people typically have an iPod,
and then they vary in the number of tunes they
buy. All right. So, the -- in this -- it's

obviously not a fixed relationship between the

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complements.

The -- an example of something that is a
fixed relationship would be you had to have a
personal computer. Right. And one personal
computer produces an iPod. Right. Something to
interact with an iPod. So that's closer. It
isn't complete because someone might have two or
three PCs, but that's closer to being. And then
even closer still would be the memory in an iPod
is in a fixed relationship to the iPod or the
microprocessor is in a fixed relationship to the

iPod.

Q. Okay. Other than the fixed-relationship

concept, what would be another circumstance in the

market that would lead theoretically to the
conclusion that the price of the tying product,
the music, would be lowered as a result of an
actual tie?

A. Well, the -- the cost of the substitute
for the tied -- the tying product and the tied
product.

I mean, had you asked me about at length
there's an alternative to iTMS called going out
and buying a CD and ripping it. And that's --

that puts a ceiling on whatever iTMS could ever

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by or correlated with the decision to close the
system as opposed to introduce iTMS.

Or put another way, would the iPod be less
cool if, say, Apple hadn't done whatever it did to

cause Harmony to stop existing.

Q. Going on to another question.

A. Okay.

Q@. Are you thinking of having a number of
dummy variables, for example, a dummy variable
that indicates whether the screen is in color, the
storage size, the thinness, or are you thinking
about having just one dummy variable?

A. To measure the product attributes of the
iPod?

Q. Right.

A. I mean whether the -- no. I was thinking

that the set of functional attributes of the iPod
would be a list of variables and my expectation is
some will work and some won't. Some of them will
matter and some will not.

Q@. And you're going to determine whether they
matter or not in what fashion?

A. Well, the -- the -- let's start off with
different models of iPod have different

functionality and have different prices. All

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right.

The differences among them and the changes
in prices through time of various models of iPods
should in part be determined by their attributes.

Like all electronics products, the
functional performance of iPods improves over
time, and it would be a mistake not to take it
into account and attribute it all to
anticompetitive harm.

So what you have to do is make certain
that as technological progress in iPods takes
place, the price effect either through its effect
on costs or through its effect on behavior that
allows for a higher markup, is separated from
whatever the effect of the absence of competition
with other portable digital media players for
people who want to access iTMS. So it's that
separation that requires the functional
characteristics of the models at a given moment in
time and through time be part of the explanation
of prices.

Q@. Is there -- is there an issue about
whether you're -- strike that.

Do you have any idea of the number of

different iPods during the class period?

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A. Yeah. I mean I did, in fact, look at
the -- both the Apple website to see what was
currently being offered and then I went back
through the press releases. I read about when
they introduced various products, so I can't 17:14
recite for you a number but I have in my mind, you
know, I know that such information is easily
accessible and that there are, you know, ten or so
such models.

Q@. Is there some issue about whether there 17:14
are enough price changes or prices that a
regression with all the important variables can be
estimated?

A. Of course there is. There is -- that's
why probably -- probably a minority of antitrust 17:15
cases end up with regression analysis being used
to prove things like market power or market
definition, is the extreme difficulty of
identification that one faces in a differentiated
product industry. I mean that's absolutely right. 17:15
It's less likely to be a problem in the damages
side.

So frequently -- I mean the common mode is

the liability expert really doesn't do much in the

way of regression analysis because it's too 17:15

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STATE OF CALIFORNIA )
) Ss.

COUNTY OF ALAMEDA )

I, EARLY LANGLEY, a Shorthand Reporter, State
of California, do hereby certify:

That ROGER G. NOLL, in the foregoing deposition
named, was present and by me sworn as a witness in the
above-entitled action at the time and place therein
specified;

That said deposition was taken before me at
said time and place, and was taken down in shorthand by
me, a Certified Shorthand Reporter of the State of
California, and was thereafter transcribed into
typewriting, and that the foregoing transcript
constitutes a full, true and correct report of said
deposition and of the proceedings that took place;

IN WITNESS WHEREOF, I have hereunder subscribed my hand

this 24th day of September 2008.

(aly

EARLY LANGLEY, (ESR Hp 3537
State of California

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